Case 2:08-cr-00137-WFN   ECF No. 1940   filed 03/24/10   PageID.7772 Page 1 of 6
Case 2:08-cr-00137-WFN   ECF No. 1940   filed 03/24/10   PageID.7773 Page 2 of 6
Case 2:08-cr-00137-WFN   ECF No. 1940   filed 03/24/10   PageID.7774 Page 3 of 6
Case 2:08-cr-00137-WFN   ECF No. 1940   filed 03/24/10   PageID.7775 Page 4 of 6
Case 2:08-cr-00137-WFN   ECF No. 1940   filed 03/24/10   PageID.7776 Page 5 of 6
Case 2:08-cr-00137-WFN   ECF No. 1940   filed 03/24/10   PageID.7777 Page 6 of 6
